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                    IN THE UNITED STATES DISTRICT 9JJ,RI
                    FOR THE MIDDLE DISTRICT OF ALAAMA
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UNITED STATES OF AMERICA                 )
ex rel. Linda Reed and Jessica Smith,    )
                                         )
      Plaintiffs,                        )
                                             Case No: 2: - j.-                   M-fl VL
                                         )
V.                                       )
                                         )        FILED UNDER SEAL
FIRST CHOICE HOSPICE, INC.,              )
                                         )   DO NOT PLACE IN PRESS BOX
      Defendant.                         )    DO NOT ENTER ON PACER
                                         )
                                         )         DEMAND FOR JURY



                             QUI TAM COMPLAINT

      Relators Linda Reed and Jessica Smith, on behalf of themselves and the

United States of America, allege and claim against Defendant First Choice

Hospice, Inc., as follows:

                         JURISDICTION AND VENUE

      1.     This action arises under the False Claims Act, 31 U.S.C. § 3729-33

(the "False Claims Act"). Accordingly, this Court has jurisdiction pursuant to 28

U.S.C. § 1331. Jurisdiction is also authorized under 31 U.S.C. § 3732(a).

      2.     Venue lies in this judicial district pursuant to 31 U.S.C. § 3732(a),

because Defendant qualifies to do business in the State of Alabama, transacts
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substantial business in the State of Alabama, transacts substantial business in this

judicial district, and can be found here. Additionally, and as described herein,

Defendant committed within this judicial district acts proscribed by 31 U.S.C. §

3729. Specifically, and inter a/ia, Defendant submitted and caused to be submitted

within this judicial district false claims for hospice care for ineligible patients and

made or used false records material to such claims.

                                       PARTIES

      3.     Defendant First Choice Hospice, Inc. ("First Choice") is a Medicare-

certified hospice provider offering hospice services throughout approximately 14

counties in southeastern Alabama. First Choice currently supplies hospice care to

approximately 150 patients. Through their experience at First Choice, Relators

have learned that Defendant conducts its hospice operations with the fraudulent

intent to defraud the United States by submitting claims for hospice care with

complete disregard for patient eligibility, Medicare billing requirements, or

compliance with other federal healthcare laws and regulations.

      4.     Relator Linda Reed has extensive experience as a hospice social

worker. She received her Bachelor's of Social Work in 1996 and completed her

Master's of Social Work in May 2012. On September 23, 2013, First Choice hired

Ms. Reed to serve as Director of Social Services. She discovered that First Choice

makes little to no effort to comply with Medicare conditions of payment or

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participation and routinely bills for patients who are not eligible for hospice care.

As a result, Ms. Reed resigned from First Choice effective July 8, 2014.

      5.     Relator Jessica Smith received her Bachelor's of Social Work in May

of 2013. She has been employed by First Choice as a social worker since January

13, 2014 and obtained her Licensed Bachelor's of Social Work (LBSW) in July

2014. She is currently working towards her Master's in Social Work at Florida

State University. Like Ms. Reed, upon employment with First Choice, Ms. Smith

discovered that Defendant routinely admits and bills for Medicare patients that it

knows are not terminally ill.

      6.     Prior to filing this Complaint, Relators voluntarily disclosed to the

United States the information upon which this action is based. To the extent that

any public disclosure has taken place as defined by 31 U.S.C. §3739(e)(4)(A),

Relators are the original source of the information for purposes of that Section.

Alternatively, Relators have knowledge that is independent of and materially adds

to any purported publicly disclosed allegations or transactions, and Relators

voluntarily provided that information to the Government before filing this

Complaint. Relators are serving contemporaneously herewith a statement of the

material evidence in their possession upon which their claims are based.




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                       THE MEDICARE HOSPICE BENEFIT

         I.     Background

         7.     Through the Medicare Program ("Medicare"), Title XVIII of the

Social Security Act, 42 U.S.C. § 1395, et seq., the United States provides health

insurance coverage for eligible citizens. Medicare is overseen by the United States

Department of Health and Human Services through its Center for Medicare and

Medicaid Services ("CMS").

         8.     Through the Medicare Hospice Benefit, Medicare pays for hospice

care for certain terminally ill patients who elect to receive such care. See 42

U.S.C. § 1395d. A patient is deemed to be terminally ill if the patient "has a

medical prognosis such that his or her life expectancy is 6 months or less if the

disease runs its normal course." 42 C.F.R. § 418.3. In electing hospice care, a

patient must agree to forego Medicare coverage for curative treatment. See 42

U.S.C. § 1395d. A patient may at anytime revoke his or her hospice election and

resume Medicare Part A coverage. 42 C.F.R. § 418.28.

         9.     Defendant's aggressive, profit-maximizing business model represents

an intrusion of greed into an institution founded upon philosophical, spiritual, and

medical notions of charity and care giving. The impetus for the modern hospice

movement in the United States is attributed to psychiatrist Dr. Elizabeth KUbler

Ross, whose 1969 On Death and Dying is acknowledged to have altered modern

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perceptions about care for the terminally ill. In the 1970s, U.S. hospices opened

their doors as volunteer organizations dedicated to bringing comfort and humanity

to terminal patients. Testifying in 1975 before the U.S. Senate Special Sub-

committee on Aging, Kübler Ross stated: "We should not institutionalize people.

We can give families more help with home care and visiting nurses, giving the

families and the patients the spiritual, emotional, and financial help in order to

facilitate the final care at home." In 1982, Congress created a provisional

Medicare Hospice Benefit, made permanent in 1986 ("Hospice"). By 1990, 800

hospice companies were caring for 76,491 patients, with an average length of stay

of 48.4 days.

       10. From such humble, altruistic roots, Hospice has become big business.

Medicare Hospice payments rose from $205 million in 1989 to $9.2 billion in

2006, and are estimated to be well over $14 billion at the time of the filing of this

complaint, according to a 2011 report by Bloomberg, "Aunt Midge Not Dying in

Hospice Reveals $14 Billion Market." In the 1998 article "Hospice Boom Is

Giving Rise to New Fraud," the New York Times recognized that the hospice

infrastructure "was never designed to handle the expanding network of nursing

homes, hospices, assisted-care centers and other services popping up to serve the

nation's growing aging population." Since then, the situation has only gotten

much worse: in late 2013, The Washington Post issued an investigative report

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entitled, "Hospice Firms Draining Billions from Medicare," revealing that "over

the past decade, the number of 'hospice survivors' in the United States has risen

dramatically, in part because hospice companies earn more by recruiting patients

who aren't actually dying." The Washington Post article drew its conclusions from

data collected by hospices in California, but venture capitalists and other investors

all across the country have been quick to perceive that Hospice represents a

potentially unlimited stream of income for those who bring aggressive marketing,

sales, and growth tactics into the new industry of care for the dying. Relators

experienced through their personal first-hand knowledge and observations that

Defendant is among the corporations who are fraudulently using hospice as a profit

center by presenting false claims for per diem reimbursements for patients that

they knew or should have known did not qualify for the Medicare Hospice Benefit.

      II. Hospice Benefits, Reimbursements, and Requirements

      11. Hospice covers a broad set of palliative services for qualified

beneficiaries who have a life expectancy of six months or less as determined by

their physician. See 42 C.F.R. § 418.22. Hospice is designed to provide pain-

relief, comfort, and emotional and spiritual support to patients with a terminal

diagnosis. Qualified hospice patients may receive skilled nursing services,

medication for pain and symptom control, physical and occupational therapy,

counseling, home health aide and homemaker services, short-term inpatient care,

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inpatient respite care, and other services for the palliation and management of the

terminal illness. See 42 C.F.R. § 418.202.

       12.    Through Medicare and/or Medicaid (indirectly through the States), the

United States reimburses hospice providers for services to qualified beneficiaries

on a per diem rate for each day a qualified beneficiary is enrolled. 42 C.F.R. §

418.302. Medicare or Medicaid makes a daily payment, regardless of the amount

of services provided on a given day and even on days when no services are

provided. Payments are made according to a fee schedule with four base payment

amounts for the four different categories of care: routine home care (RHC),

continuous home care (CHC), in-patient respite care (IRC), and general in-patient

care (GIC).

      13.     In return for the Hospice per diem payment, hospices are obligated to

provide patients with all covered palliative services. See 42 C.F.R. § 418.202. The

hospice must design a plan of care (POC) inclusive of all covered services

necessary to meet the patient's needs. See 42 C.F.R. § 418.56. That POC must be

in place prior to the hospice submitting a Medicare bill.

      14.     Medicare imposes on hospice providers an annual per-patient average

cap for reimbursements (the "Aggregate Cap"). The Aggregate Cap is set by CMS

according to federal regulations, and in 2012 stood at $25,377.01 per patient. The

Aggregate Cap is not related to expenditures on individual patients. Rather, it

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limits the aggregate reimbursement a provider may receive from Medicare. A

hospice provider's compliance is calculated by dividing its total submitted

reimbursements over a year by the number of non-duplicative patients enrolled

during that year. Thus, every first-time Medicare hospice patient enrolled

increases a hospice's Aggregate Cap amount by $25,377.01.

          15.   Medicare will not pay for hospice services provided to patients who

are not terminally ill. See 42 U.S.C. §1395y. The hospice medical director and the

patient's attending physician must certify that the patient is terminal prior to the

patient's admission to hospice. 42 C.F.R. §418.25. Furthermore, it is a universal

requirement of the Medicare program that all services provided must be reasonable

and medically necessary. See 42 U.S.C. §1395y(a)(1)(A); 42 U.S.C. § 1396, et

seq.; 42 C.F.R. § 410.50. Medicare providers may not bill the United States for

medically unnecessary services or procedures performed solely for the profit of the

provider. Id.

          16.   Federal law authorizes Medicare administrative contractors ("MACs")

and fiscal intermediaries ("FIs") to issue determinations as to the extent of

Medicare coverage for particular items or services. See 42 U.S.C. 1395ff.

Accordingly, Medicare Hospice MACs and FIs publish local coverage

determinations ("LCDs") establishing requirements for and limitations on Hospice




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coverage. See, e.g., LCDs Published by Palmetto GBA. Medicare will not pay for

hospice care provided to a patient who does not meet LCDs. See 42 U.S.C. 1395y.

       17.   To enroll as a Medicare provider, First choice was required to submit

a Medicare Enrollment Application for Institutional Providers. See CMS Form

855A. In submitting Form 855A, First choice made the following "certification

Statement" to CMS:

             I agree to abide by the Medicare laws, regulations and
             program instructions that apply to this provider. The
             Medicare laws, regulations, and program instructions are
             available through the Medicare contractor. I understand
             that payment of a claim by Medicare is conditioned upon
             the claim and the underlying transaction complying with
             such laws, regulations, and program instructions
             (including, but not limited to, the Federal Anti-Kickback
             statute and the Stark law), and on the provider's
             compliance with all applicable conditions of participation
             in Medicare.

   Form CMS-855A.

      18.    First Choice then billed Medicare by submitting a claim form (CMS

Form 1450) to the Fl responsible for administering Medicare hospice claims on

behalf of the United States. See CMS Form 1450. Each time it submitted a claim

to the United States through the Fl, First Choice certified that the claim was true,

correct, and complete, and complied with all Medicare laws and regulations.




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                  DEFENDANT'S FRAUDULENT SCHEMES

       19.   From at least 2010 to the present, the Defendant has defrauded the

United States by submitting, or causing to be submitted, false or fraudulent claims

to Medicare for ineligible hospice patients and by its failure to report past

overpayments for ineligible patients and to reimburse Medicare for these

overpayments.

      20.    As a result of the Defendant's submission of, or causing the

submission of claims that were knowingly false, or submitted with reckless

disregard or deliberate ignorance of their falsity and through Defendant's

"knowing" concealment or avoidance of its obligation to the Government, the

United States was damaged by reimbursing the Defendant for providing hospice

care to patients that were not eligible for the hospice benefit and by the failure of

the Defendant to make repayments that Defendant knew were due and owing.

      21.    Defendant acted with intentional disregard, reckless disregard, or

deliberate ignorance to the statements of staff as well as their own records

regarding the presence within First Choice's hospice census of ineligible patients.

      22.    As a result, Medicare paid the Defendant monies that should not have

been paid and the Defendant retained payments that should have been returned to

Medicare.




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          I.      Defendant Bills Medicare for Ineligible Hospice Patients

          23.     The Defendant systematically defrauds Medicare and Medicaid by

recruiting and cycling non-qualifying patients through its Hospice program.

          24.     Defendant actively recruits, certifies, and bills the United States

through CMS for ineligible patients. Defendant perpetrates its scheme by

systematically removing and destroying documents from patient records and

falsifying documentation of terminal illness. First Choice, while aware of these

issues, has made no attempt to rectify them or to refund any overpayments to the

United States and instead continues to bill the United States with full knowledge

that its claims are false.

          25.     Defendant systematically removes and destroys documents from

patient records. For example, on June 12, 2014, in the First Choice conference

room in Elba, Alabama, Relator Jessica Smith witnessed First Choice nurses

Monica Gulley and Christy Vidich systematically remove documentation

inconsistent with a legitimate terminal diagnosis from patient charts and shred it.

Nurses Gulley and Vidich destroyed this documentation at the direction of First

Choice management in order to evade the detection of ineligible patients during a

chart review.

      26.         Defendant also systematically manipulates patient diagnoses so that

patients appear to be eligible for the Medicare Hospice Benefit when they are not

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in fact eligible and instructs its employees to do the same. For example, Relators

Linda Reed and Jessica Smith heard Lisa Adams, Director of Quality Assurance,

tell volunteers and other employees that "we make the diagnosis fit" at an April 26,

2014 volunteer training session. Furthermore, Ms. Reed is aware that Tara Norris,

Outreach Development, consistently tells referring physicians that First Choice

will "make" their patients appropriate for hospice regardless of the patient's actual

condition.

         27.   Accordingly, Defendant is aware, or should be aware, of the

admission of ineligible patients.

         28.    The following patients are examples of patients that Defendant

admitted and billed to Medicare despite the knowledge that the patients were

ineligible for hospice:

      29.      Patient A.D., a 91-year-old female, was admitted to First Choice in

Elba, Alabama on March 4, 2014 with a diagnosis of heart disease. First Choice

medical director Dr. Charles Wood certified A.D. as terminally ill. When A.D.'s

primary physician, Dr. William Reynolds, found out that his patient had been

admitted to hospice, he immediately called and complained to First Choice

Administrator Carolyn Burbank that his patient was not appropriate for hospice

and demanded that she be discharged. Instead, First Choice management ignored

Dr. Reynolds' medical judgment and retained A.D. Relator Jessica Smith visited

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A.D. at her home and noted that the patient was very active. A.D. did not wear

oxygen, was frequently outdoors, took daily walks with her boyfriend without

experiencing shortness of breath, and was very talkative - all clinical facts at odds

with Medicare guidelines for end-stage heart disease and which belie a legitimate

terminal diagnosis.

          30.   Patient B.G., a 71-year-old female, was admitted to First Choice

Hospice in Elba, Alabama on April 21, 2014 with a diagnosis of COPD. First

Choice medical director Dr. Charles Wood certified B.G. as terminally ill.

Nurses' notes on June 5, 2014 indicate that B.G. was short of breath with minimal

exertion and that the patient wears oxygen. However, when Relator Linda Reed

made visits to the home on June 17 and 19, 2014, she noted that the patient sat

outside in hot weather, did not wear oxygen, and did not exhibit any signs of

shortness of breath when exerting herself (walking measureable distances) - all

clinical facts at odds with Medicare guidelines for COPD and which belie a

legitimate terminal diagnosis.

         31.    Patient M.C., a 91-year-old female, was admitted to First Choice

Hospice in Elba, Alabama on June 10, 2014 with a diagnosis of heart disease. Dr.

Tanir Siddiq certified M.C. as terminally ill. When Relator Linda Reed called the

patient's home to schedule a psychosocial assessment, the patient questioned her as

to how First Choice got her name. When Ms. Reed told her that her doctor, Dr.

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Siddiq, admitted her to the program, the patient told Ms. Reed that Dr. Siddiq is

not her doctor and that she has never seen him before. She went on to state that

she did not want First Choice in her home and that she was not terminally ill.

       32.    Patient M.W., a 62-year-old female, was admitted to First Choice

Hospice in Elba, Alabama on June 2, 2014 with a diagnosis of heart disease. M.W.

was certified as terminally ill by medical director Dr. Charles Wood. While

Relator Jessica Smith was in the patient's home on June 6, 2024 conducting a

psychosocial assessment, a nurse from a local home health agency, Southeast

Alabama Home Care, arrived. Ms. Smith told Shelia Johnson, the Patient Care

Coordinator, that a home health nurse arrived during her visit and had discharged

M.W. as "healed" for meeting all of her home health goals. The home health nurse

later called Shelia Johnson and told her that the patient did not have end stage heart

disease. First Choice quickly discharged the patient, only to readmit her on June 9,

2014 for the same diagnosis though her condition was clearly at odds with

Medicare guidelines for heart disease and both First Choice and Southeast

Alabama Home Care clinicians had already determined that M.W. was not

terminally ill.

       33.    Patient L.J.W., a 62-year-old male, was admitted to First Choice

Hospice in Elba, Alabama on June 2, 2014 with a diagnosis of heart disease. First

Choice medical director Dr. Charles Wood certified L.J.W. as terminally ill.

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Patient L.J.W.'s spouse was admitted on the same day under the same diagnosis.

However, when Relator Jessica Smith visited L.J.W. at home, she noted that the

patient did not wear oxygen and cut grass professionally without difficulty or

experiencing shortness of breath - clinical facts that render L.J.W.'s terminal heart

disease diagnosis totally implausible.

         34.   Patient J.H., a 58-year-old male, was admitted to First Choice Hospice

in Elba, Alabama on January 7, 2014 with a diagnosis of heart disease. First

Choice medical director Dr. Charles Wood certified J.H. as terminally ill.

However, the patient's records noted only "mild heart disease." J.H. walked

several miles from Southeast Alabama Medical Center to a local Motel 6 where he

was staying. He frequently abused alcohol and other controlled substances. J.H.

was discharged on March 20, 2014. J.H.'s medical chart expressly demonstrates

that he was not terminally ill and his actual condition is completely at odds with

Medicare guidelines for heart disease, facts of which First Choice was aware and

which plainly show Defendant's knowledge that its hospice claims for J.H. were

false.

         35.   Patient J.M., a 74-year-old male, was admitted to First Choice

Hospice in Elba, Alabama on July 15, 2013 with a diagnosis of frontal lobe

dementia and certified by First Choice medical director Dr. Charles Wood.

However, when Ashley Cruise and Relator Linda Reed visited the patient in his

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home, they noted that J.M. was able to follow instructions and carry on complete

conversations, speaking more than six words. J.M. was ambulatory and was able

to dress himself. These are all clinical facts at odds with Medicare guidelines for

terminal dementia and render First Choice's admission and terminal certification of

J.M. false. On April 7, 2014, Dr. Charles Wood placed J.M. on discharge planning

for failure to decline.

       36.    Patient A.W., a 77-year-old female, was admitted to First Choice

Hospice in Elba, Alabama, on July 26, 2013 with a diagnosis of Parkinson's

disease. Dr. Linguiti, the patient's primary care physician, referred A.W. First

Choice Hospice frequently marketed to Dr. Linguiti. However, when Relators

Linda Reed and Jessica Smith visited the patient, they noted that A.W. is

ambulatory and cooks and cleans for herself. In fact, A.W. independently cares for

her disabled adult daughter. These objective facts do not comport with Medicare

guidelines for end-stage Parkinson's disease and belie a terminal diagnosis and

were known or should have been known by First Choice, who nevertheless falsely

certified and re-certified A.W. as terminal. On May 6, 2014, A.W. was discharged

as a part of a "mass discharge."

      37.    Patient C.T., an 81-year-old female, was admitted to First Choice

Hospice in Andalusia, Alabama on October 16, 2012 with a diagnosis of end-stage

heart disease and was certified as terminally ill by First Choice medical director

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Dr. Charles Wood. When Relator Jessica Smith visited the patient in her home,

she noted that C.T. was independently ambulatory, did not wear oxygen and cared

for 2-3 infant grandchildren on her own for up to three days a time - all clinical

facts at odds with Medicare guidelines for end-stage heart disease and which belie

a legitimate terminal diagnosis. Dr. Charles Wood discharged C.T. on May 5,

2014   for failure to decline.

        38.   Patient M.S., a 77-year-old female, was admitted to First Choice

Hospice in Elba, Alabama on March 14,     2012   with a diagnosis of end-stage heart

disease. Dr. Frank Crockett certified M.S. as terminally ill. When Relator Linda

Reed visited the patient at her home, she noted that M.S. independently cared for

her elderly bed-bound husband, did not use oxygen, was ambulatory and active in

the community, and cooked and cleaned for herself— all clinical facts at odds with

Medicare guidelines for end-stage heart disease and which belie a legitimate

terminal diagnosis. M.S. elected to revocate hospice shortly after her husband's

death in early 2014.

       39.    Patient W.P., a 76-year-old male, was admitted to First Choice

Hospice in Elba, Alabama on May 3,       2011   with a diagnosis of end-stage heart

disease and certified as terminally ill by First Choice medical director Dr. Lance

Dyess. When Relators Linda Reed and Jessica Smith visited W.P. at home, they

noted that W.P. did not use oxygen and would drive to his workshop every day

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where he would independently "tinker" in the shop - all clinical facts at odds with

Medicare guidelines for end-stage heart disease and which belie a legitimate

terminal diagnosis. W.P. was discharged on May 25, 2014.

      40.      Patient L.H., a 72-year-old female, was admitted to First Choice

Hospice in Andalusia, Alabama on July 30, 2014 with a diagnosis of heart disease

and was certified as terminally ill by First Choice medical director Dr. Charles

Wood. Relator Jessica Smith overheard a conversation in which Tara Norris,

Outreach Development, stated that Dr. Crowe refused to follow the patient as she

was not appropriate for hospice but that Carolyn Burbank, Administrator, had said

that she would have the medical director sign off on L.H. despite her not being

appropriate for hospice.

      41.      Patient J.R., a 67-year-old female, was admitted to First Choice

Hospice in Elba, Alabama on May 22, 2014 with a diagnosis of Alzheimer's

disease. First Choice medical director Dr. Charles Wood certified J.R. as

terminally ill. However, when Relator Linda Reed visited the patient's home to

conduct a psychosocial assessment, she noted that J.R. was sitting in the living

room talking to her daughter and grandson. J.R. was able to answer all questions

that she was asked during the assessment and was alert and oriented x2. Ms. Reed

also noted that J.R. is independently ambulatory and is able to feed herself - all




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clinical facts at odds with Medicare guidelines for Alzheimer's disease and which

belie a legitimate terminal diagnosis.

      42.    Patient J.G., a 66-year-old male, was admitted to First Choice Hospice

in Elba, Alabama on May 9, 2014 with a diagnosis of end-stage COPD and was

certified as terminally ill by Dr. Henry King. However, when Relator Jessica

Smith visited the patient's home, she noted that J.G. worked in the garden all day,

smoked frequently (while wearing oxygen), and continues to be involved in the

community - all clinical facts at odds with Medicare guidelines for end-stage

COPD and which belie a legitimate terminal diagnosis.

      43.    Patient M.H., a 67-year-old female, was admitted to First Choice

Hospice in Elba, Alabama on December 27, 2012 with a diagnosis of end-stage

COPD and certified by First Choice medical director Dr. Charles Wood. However,

when Relators Linda Reed and Jessica Smith visited the patient in her home, they

noted that M.H. did not use oxygen, regularly went shopping, cleaned, and

frequently watched her two young grandchildren - all clinical facts at odds with

Medicare guidelines for end-stage COPD and that render M.H.'s terminal

diagnosis totally implausible. M.H. was discharged on March 31, 2014.

      44.    Patient R.B., a 64-year-old male, was admitted to First Choice

Hospice in Andalusia, Alabama on January 10, 2014 with a diagnosis of

COPD/lung disease. However, Relator Jessica Smith noted when visiting the

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patient that he does not wear oxygen and is seeking aggressive treatment for his

terminal condition from the Veteran's Administration at Sacred Heart Hospital. As

such, R.B. is not eligible for the Medicare Hospice benefit.

      II. Defendant Systematically Admits Patients Without the
           Knowledge of Patients' Primary Physician

      45.       Defendant systematically admits patients without the knowledge or

approval of patient's primary physician.

      46.       The following patients are examples of the Defendant knowingly

admitting patients without the knowledge of the patient's primary physician:

      47.       Patient N.K., a 93-year-old female, was admitted to First Choice

Hospice in Elba, Alabama on November 25, 2013 with a diagnosis of heart disease

and certified as terminally ill by First Choice medical director Dr. Anna Lee

Walding. N.K. was admitted without her primary physician's knowledge. When

N.K.'s primary physician, Dr. Davis Rhynne, found out that First Choice had

admitted N.K. to hospice, he angrily called the agency and demanded that they

discharge N.K. as she is not appropriate for hospice.

      48.    Patient J.R., a 76-year-old male, was admitted to First Choice Hospice

in Elba, Alabama on November 26, 2013 with a diagnosis of Parkinson's Disease

and certified as terminally ill by First Choice medical director Dr. Charles Wood.

J.R. was admitted without his primary physician's knowledge. When he found out,


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Dr. William Reynolds called Administrator Carolyn Burbank and told her that J.R.

    is not appropriate for hospice and should be discharged immediately.

          49.   Patient A.D., a 91-year-old female, was admitted to First Choice

Hospice in Elba, Alabama on March 4, 2014 with a diagnosis of Heart Disease and

certified as terminally ill by First Choice medical director Dr. Charles Wood.

When A.D.'s primary physician, Dr. William Reynolds, found out that his patient

had been admitted to hospice, he immediately called and complained to

Administrator Carolyn Burbank that his patient was not appropriate for hospice

and demanded that she be discharged.

          50.   By and through all of the circumstances described, supra, Defendant

has violated the healthcare laws and regulations of the United States, undermined

the noble intention and mission of Hospice, defrauded the United States of

America, and jeopardized the already strained Medicare program.

                           COUNT ONE
       PRESENTING OR CAUSING TO BE PRESENTED FALSE CLAIMS
                       UNDER 31 U.S.C. S 3729

          51.   Relators adopt and incorporate the previous paragraphs as though

fully set forth herein.

          52.   By and through the fraudulent schemes described herein, Defendant

knowingly - by actual knowledge or in deliberate ignorance or with reckless

disregard of the truth or falsity of the information - presented or caused to be

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presented false or fraudulent claims to the United States for payment or approval,

to wit:

          (a)   Defendant submitted false claims for Hospice care provided to

patients whom Defendant knew did not meet Medicare or Medicaid requirements

for Hospice, in violation of 42 U.S.C. §1395y;

          (b)   Defendant submitted false claims for Hospice care provided to

patients who were under the care of a treating physician, but who were not certified

as terminally ill by that physician and were instead admitted without his or her

knowledge, in violation of 42 C.F.R. § 418.22(c).

          (c)   Defendant submitted false claims for Hospice services premised upon

Defendant's fraudulent certifications of compliance with Medicare regulations as

made on CMS Forms 885A and 1450 and elsewhere;

          53.   The United States paid the false claims described herein and

summarized in paragraph 52(a)-(c).

          54.   Defendant's fraudulent actions, as described supra, are part of a

widespread, systematic pattern and practice of knowingly submitting or causing to

be submitted false claims to the United States through fraudulent certification and

re-certification of Hospice patients and fraudulent billing of the United States

through Medicare or Medicaid.




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       55.    Defendant's fraudulent actions described herein have resulted in

damage to the United States equal to the amount paid or reimbursed to Defendant

and others by the United States through Medicare and Medicaid for such false or

fraudulent claims.

       WHEREFORE, Relators demand judgment in their favor on behalf of the

United States, and against Defendant, in an amount equal to treble the damages

sustained by reason of Defendant's conduct, together with civil penalties as

permitted by 31 U.S.C. § 3729, attorneys' fees and costs, and such other, different,

or further relief to which Relators may be entitled.

                       COUNT TWO
 MAKING OR USING FALSE STATEMENTS OR RECORDS MATERIAL
          TO A FALSE CLAIM UNDER 31 U.S.C. 3729

       56.    Relators adopt and incorporate the previous paragraphs as though

fully set forth herein.

       57.    By and through the fraudulent schemes described herein, Defendant

knowingly - by actual knowledge or in deliberate ignorance or with reckless

disregard of the truth or falsity of the information - made, used, or caused to be

made or used, false records or statements material to a false or fraudulent claim or

to get a false or fraudulent claim paid or approved by the United States, to wit:

      (a)    Defendant created and used false certifications of terminal illness;

false patient charts designed to make patients appear terminally ill, when they were

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not; and other false records intended to support its fraudulent billing to the United

States, all in violation of 42 U.S.C. §1395y and the Medicare regulations cited

supra.

          (b) Defendant made false certifications regarding past, present, or future

compliance with a prerequisite for payment or reimbursement by the United States

through Medicare or Medicaid, including false certifications on CMS Forms 885A

and 1450 as described supra, when Defendant was aware that its practices as

described herein were in violation of Medicare payment prerequisites, including

but not limited to 42 U.S.C. §1395y and the applicable LCDs.

          58.   The false records or statements described herein were material to the

false claims submitted, or caused to be submitted, by Defendant to the United

States.

          59.   In reliance upon Defendant's false statements and records, the United

States paid false claims that it would not have paid if not for those false statements

and records.

          60.   Defendant's fraudulent actions described herein have resulted in

damage to the United States equal to the amount paid or reimbursed to Defendant

and others by the United States for such false or fraudulent claims.

         WHEREFORE, Relators demand judgment in their favor on behalf of the

United States, and against Defendant, in an amount equal to treble the damages

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sustained by reason of Defendant's conduct, together with civil penalties as

permitted by 31 U.S.C. § 3729, attorneys' fees and costs, and such other, different,

or further relief to which Relators may be entitled.

                         COUNT THREE
       "REVERSE FALSE CLAIMS" UNDER 31 U.S.C. 6 3729(a)ffl(G

       61.    Relators adopt and incorporate the previous paragraphs as though

fully set forth herein.

       62.    By and through the fraudulent schemes described herein, Defendant

knowingly - by actual knowledge or in deliberate ignorance or with reckless

disregard of the truth or falsity of the information - made, used, or caused to be

made or used, false records or statements material to an obligation to pay or

transmit money or property to the United States, or knowingly concealed or

knowingly and improperly avoided an obligation to pay or transmit money or

property to the United States, to wit: Defendant knew that it had received Hospice

per diem payments for patients who did not qualify for Hospice, yet Defendant

took no action to satisfy its obligations to the United States to repay or refund those

payments and instead retained the funds and continued to bill the United States.

      63.     As a result of Defendant's fraudulent conduct, the United States has

suffered damage in the amount of funds that belong to the United States but are

improperly retained by Defendant.



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       WHEREFORE, Relators demand judgment in their favor on behalf of the

United States, and against Defendant, in an amount equal to treble the damages

sustained by reason of Defendant's conduct, together with civil penalties as

permitted by 31 U.S.C. § 3729, attorneys' fees and costs, and such other, different,

or further relief to which Relators may be entitled.

                             COUNT FOUR
                  CONSPIRACY UNDER 31 U.S.C. § 3729(a)(3)

       64.    Relators adopt and incorporate the previous paragraphs as though

fully set forth herein.

       65.    Defendant knowingly presented, or caused to be presented, false or

fraudulent claims to the United States for payment or approval, to-wit: Defendant

knowingly certified and/or re-certified Hospice patients whom it knew did not

qualify for Medicare or Medicaid reimbursement and presented or caused to be

presented false claims to the United States through Medicare or Medicaid for

payment of same.

      66.     The United States paid Defendant for such false claims.

      67.     Defendant, in concert with its principals, agents, employees,

subsidiaries, and other institutions did agree to submit such false claims to the

United States.

      68.    Defendant and its principals, agents, and employees acted, by and

through the conduct described supra, with the intent to defraud the United States
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by submitting false claims for payment to the United States through Medicare or

Medicaid.

      69. Defendant's fraudulent actions, together with the fraudulent actions of

its principals, agents and employees, have resulted in damage to the United States

equal to the amount paid by the United States to Defendant and others as a result of

Defendant's fraudulent claims.

      WHEREFORE, Relators demand judgment in their favor on behalf of the

United States and against Defendant, in an amount equal to treble the damages

sustained by reason of Defendant's conduct, together with civil penalties as

permitted by 31 U.S.C. § 3729, attorneys' fees, costs, interest, and such other,

different, or further relief to which Relators may be entitled.

      Date: October 16, 2014

                                                   c7p
                                   )MES F. BARGER JR.
                                   J. ELLIOTT WALTHALL
                                   CARRIE M. MOTES

                                   Attorneys for Relators Linda Reed
                                   and Jessica Smith

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          RELATOR DEMANDS A TRIAL BY STRUCK JURY




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                             CERTIFICATE OF SERVICE

           On this the 16th day of October, 2014, Relators hereby certify that in

compliance with Federal Rule 4 of the Civil Rules of Procedure, service of the Qui

Tam Complaint has been executed as follows:

By Certified Mail to:

United States Attorney George Beck
Attn: AUSA Bob Anderson
131 Clayton Street
Montgomery, Alabama 36104

Attorney General of the United States
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001



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